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 1 PATRICK D. ROBBINS (CABN 152288)
   Acting United States Attorney
 2 PAMELA T. JOHANN (CABN 145558)
   Chief, Civil Division
 3 KELSEY J. HELLAND (CABN 298888)
   Assistant United States Attorney
 4 U.S. ATTORNEY’S OFFICE
   450 Golden Gate Avenue, Box 36055
 5 San Francisco, California 94102-3495
   (415) 436-7200
 6 ERIC HAMILTON
   Deputy Assistant Attorney General
 7 DIANE KELLEHER
   Branch Director
 8 CHRISTOPHER HALL
   Assistant Branch Director
 9 JAMES D. TODD, JR.
   Senior Trial Counsel
10 YURI S. FUCHS
   GREGORY CONNER
11 Trial Attorneys
   U.S. DEPARTMENT OF JUSTICE
12 Civil Division, Federal Programs Branch
   P.O. Box 883
13 Washington, DC 20044

14 Counsel for Defendants

15
                              UNITED STATES DISTRICT COURT
16                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
17
   AMERICAN FEDERATION OF              )       Case No. 3:25-cv-1780-WHA
18 GOVERNMENT EMPLOYEES, et al.        )
                                       )       DEFENDANTS’ UNOPPOSED
19         Plaintiffs,                 )       ADMINISTRATIVE MOTION FOR 3-HOUR
                                       )       EXTENSION AND INCREASED PAGE LIMITS
20                 v.                  )       RE: PRELIMINARY INJUNCTION BRIEFING
                                       )
21   UNITED STATES OFFICE OF PERSONNEL )       Honorable William H. Alsup
     MANAGEMENT, et al.,               )
22                                     )
          Defendants.                  )
23                                     )
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     DEFENDANTS’ ADMIN. MOT. FOR 3-HR EXTENSION AND EXTRA PAGES
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 1          Pursuant to Civil Local Rules 6-1, 7-4(b), and 7-11, Defendants hereby move unopposed for

 2 (1) a three-hour extension to their deadline to file by noon today their oppositions to Plaintiff State of

 3 Washington’s Motion for Preliminary Injunction and to Plaintiffs’ Motion for Compliance, such that

 4 Defendants’ oppositions would be due at 3pm PDT; and (2) a five-page increase in the page limit of

 5 Defendants’ opposition to Washington’s PI Motion, such that Defendants’ brief could be up to 30 pages.

 6          1.      The Court ordered Defendants to respond to any PI motion brought by the State of

 7 Washington and to any PI compliance motion brought by Plaintiffs by March 31, 2025, at noon PDT.

 8 See Dkt. No. 152. Defendants have been diligently preparing their responses to Plaintiffs’ motions since

 9 those motions were filed on March 26. See Dkt. Nos. 155, 156. Due to the need to coordinate with the

10 two-dozen agency defendants, Defendants respectfully request three additional hours to submit their

11 responses to Plaintiffs’ motions, such that they would be due at 3pm PDT on March 31, 2025.

12          2.      In preparing their opposition to Washington’s PI Motion, Defendants have determined

13 that they need an additional five pages beyond the 25-page limit set by Civil L.R. 7-4(b) to sufficiently

14 brief the issues presented, such that the brief could be up to 30 pages in length. This Court’s Local Civil

15 Rules allow a party to file a brief in excess of the Court’s page limitations if requested by administrative

16 motion prior to the due date. See Civil L.R. 7-4(b), 7-11.

17          3.      Defendants contacted Plaintiffs’ counsel to obtain their position on the relief requested

18 herein. See Declaration of Kelsey J. Helland ¶ 2. Plaintiffs’ counsel responded that Plaintiffs do not

19 object to the relief requested herein. See id. ¶¶ 3-4. Defendants indicated that they would inform the

20 Court of Plaintiffs’ position.

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22          For good cause shown above, Defendants respectfully request that the Court grant a three-hour

23 extension to today’s filing deadlines and allow Defendants to file a brief in opposition to Washington’s

24 PI motion of up to 30 pages in length.

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 1 DATED: March 31, 2025                  Respectfully submitted,

 2                                        PATRICK D. ROBBINS (CABN 152288)
                                          Acting United States Attorney
 3                                        PAMELA T. JOHANN (CABN 145558)
                                          Chief, Civil Division
 4

 5                                        s/ Kelsey J. Helland
                                          KELSEY J. HELLAND (CABN 298888)
                                          Assistant United States Attorney
 6                                        U.S. ATTORNEY’S OFFICE
                                          450 Golden Gate Avenue, Box 36055
 7                                        San Francisco, California 94102-3495
 8                                        ERIC HAMILTON
                                          Deputy Assistant Attorney General
 9
                                          DIANE KELLEHER
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10                                        CHRISTOPHER HALL
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13                                        YURI S. FUCHS
                                          GREGORY CONNER
14                                        Trial Attorneys
                                          U.S. DEPARTMENT OF JUSTICE
15                                        Civil Division, Federal Programs Branch
                                          P.O. Box 883
16                                        Washington, DC 20044
                                          Counsel for Defendants
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